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           Exhibit 6
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                                                                                                             Neuromodulation: Technology at the Neural Interface
      Received: August 14, 2018   Revised: October 28, 2018   Accepted: November 14, 2018

      (onlinelibrary.wiley.com) DOI: 10.1111/ner.12914



      Brain Activity and Clinical Outcomes in Adults
      With Depression Treated With Synchronized
      Transcranial Magnetic Stimulation: An
      Exploratory Study
      Ian A. Cook, MD*†‡ ; Andrew C. Wilson, BS*†; Juliana Corlier, PhD*†;
      Andrew F. Leuchter, MD*†
            Background: Synchronized transcranial magnetic stimulation (sTMS) imparts low-amplitude magnetic stimulation matched to
            each patient’s individual alpha frequency. It may act through entrainment of brain oscillations.
            Objectives: To explore sTMS effects on neurophysiology with electroencephalography (EEG) in adults with major depressive disorder.
            Methods: As an ancillary study to a clinical trial of sTMS, EEGs were recorded at baseline and at one and six weeks of treat-
            ment. Associations between EEG measures and clinical symptoms were examined.
            Results: Absolute and relative power measures did not differ signiﬁcantly between active and sham groups and did not
            change signiﬁcantly over time. Changes occurring over six weeks in alpha current source density at anterior and central mid-
            line voxels were signiﬁcantly correlated with changes in symptoms in subjects treated with active but not sham sTMS.
            Conclusion: Neurophysiologic measures suggest that active but not sham sTMS engages brain targets, and that target
            engagement is related to treatment outcome.

            Keywords: Current source, depression, EEG coherence, LORETA, synchronized TMS
            Conﬂict of Interest: Dr. Cook discloses that UCLA has received research funding from NeoSync related to the analyses of this
            work and their NND-3001 and NND-3002 studies. In the past 36 months, he has received research funding from NIH as well; has
            been a consultant to Arctica Health, Cerêve, HeartCloud, NeuroDetect, and NIH (reviewer); he is editor of the Patient Management
            section of the American Psychiatric Association’s FOCUS journal; his biomedical intellectual property is assigned to the Regents of
            the University of California; he has stock options in NeuroSigma and has served as Senior Vice President and Chief Medical Ofﬁcer
            (on leave since 2016); he is employed by the University of California, Los Angeles and also has an appointment as a Staff Psychia-
            trist, Neuromodulation and Mood Disorders programs, Greater Los Angeles Veterans Administration Health System. Dr. Corlier
            reports that her intellectual property is assigned to the Regents of the University of California. Mr. Wilson has been a consultant to
            HeartCloud. Dr. Leuchter has received research support from Neuronetics, Breast Cancer Foundation, CHDI Foundation, and Neuro-
            sigma. He has served as a consultant to Ionis Pharmaceuticals, CHDI Foundation, and NeoSync, Inc. He serves as Chief Scientiﬁc
            Ofﬁcer for Brain Biomarker Analytics LLC (BBA) Dr. Leuchter has stock options in NeoSync, Inc. and equity interest in BBA.




      INTRODUCTION
                                                                                            Address correspondence to: Ian A. Cook, MD, Semel Institute for Neuroscience
         Synchronized Transcranial Magnetic Stimulation (sTMS) is a new                     and Human Behavior, University of California Los Angeles, Los Angeles, CA
      neuromodulation technique, examined in clinical trials in Major                       USA. Email: icook@ucla.edu
      Depressive Disorder (MDD) (1,2). Repetitive TMS (rTMS) devices
                                                                                            * Semel Institute for Neuroscience and Human Behavior, University of
      generally produce a pulsed magnetic ﬁeld of >1T intensity by pass-
                                                                                              California Los Angeles, Los Angeles, CA, USA;
      ing a rapidly-changing current through a coil at standard frequen-                    †
                                                                                              Department of Psychiatry & Biobehavioral Sciences, David Geffen School of
      cies of stimulation (e.g., 10 or 18 Hz); in contrast, sTMS employs a                    Medicine, University of California Los Angeles, Los Angeles, CA, USA; and
                                                                                            ‡
      sinusoidally changing magnetic ﬁeld, generated by rotating a set                        Department of Bioengineering, Henry Samueli School of Engineering &
                                                                                              Applied Science, University of California Los Angeles, Los Angeles, CA, USA
      of permanent magnets under microcomputer control (cf. Cook (3)).
      Rotational speed is set so that the magnetic ﬁeld matches each
                                                                                            For more information on author guidelines, an explanation of our peer review
      individual’s alpha frequency (IAF), measured by electroencephalog-                    process, and conﬂict of interest informed consent policies, please go to http://
      raphy (EEG) prior to treatment. The rationale for this tuning                         www.wiley.com/WileyCDA/Section/id-301854.html
      includes patterns of frontal alpha activity associated with psychosis
                                                                                            Source(s) of ﬁnancial support: This study was supported by research funding
      and treatment (cf. Jin (4)). Clinical studies of rTMS performed with
                                                                                            from NeoSync, Inc. The funding source was not involved in study design; in the
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      pulsed stimulation at IAF have reported greater symptom improve-                      collection, analysis, and interpretation of data; in the writing of the report; or in
      ment in both negative and positive symptoms of schizophrenia                          the decision to submit the article for publication.


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                                                                                                                               BRAIN ACTIVITY AND STMS

using alpha-guided rTMS than at other stimulation frequencies or              software (Brain Products GmbH, Gilching, Germany) for removing
with sham (4,5) suggesting tuning to IAF may offer therapeutic                movement, ocular, heart, and muscle artifacts. Between 20 and
advantages. Unlike rTMS pulses which cause neuronal depolariza-               30 sec of artifact free data were available for 16 individuals: ten
tion in brain tissue near the coil, the magnetic ﬁeld of the sTMS             randomized to active sTMS and six to sham.
device (NeoSync, Inc., Woburn, MA, USA) is several order of magni-               Analyses were performed using MATLAB (R2017b, Mathworks, Inc.)
tude lower in amplitude and does not trigger action potentials.               along with EEGLAB toolbox (UCSD, https://sccn.ucsd.edu/eeglab), and
   It has been proposed that the mechanism of action of sTMS may              LORETA-KEY (University of Zürich, http://www.uzh.ch/keyinst/loreta.
involve entrainment of brain oscillatory activity (e.g., EEG signals)         htm) software packages. Absolute and relative EEG power was calcu-
(6,7). We examined EEG data recorded from subjects from the                   lated using the classically-deﬁned bands of delta (0.5–4 Hz), theta
double-blind, sham-controlled “NND-3001” study [NCT01370733                   (4–8 Hz), alpha (8–12 Hz), and beta (12–20 Hz). The frequency power
(2)] as an ancillary study to that trial at the UCLA site, to explore the     spectrum was calculated using Welch’s power spectral density esti-
relationships between brain electrical activity and clinical metrics          mate, using 2 sec long segments sampled at 256 Hz (frequency reso-
during sTMS treatment and to generate hypotheses for future                   lution of 0.5 Hz). Relative power values for each frequency band are
research, including EEG markers of target engagement which                    expressed as the percentage of total power in the range 0.5–20 Hz.
might clarify how responders and nonresponders may differ.                    The width of the alpha spectral peak also was examined using the
                                                                              Q-factor metric (getQualityFactor function in MATLAB) for the FPz-Oz
                                                                              channel. Current source density (CSD) also was evaluated with low res-
METHODS AND SUBJECTS                                                          olution brain electromagnetic tomography (LORETA-KEY). LORETA
                                                                              computes current density as a linear weighted sum of scalp electrical
   In the primary protocol for the NND-3001 study, medication-free            potentials. It does not assume a speciﬁc number of sources for solving
adults with MDD were enrolled in a clinical trial that began with a six-      the “inverse problem,” but assumes that neighboring voxels are simi-
week double-blind period of daily active or sham sTMS. Treatment ses-         larly active. Based on this assumption, LORETA ﬁnds the smoothest
sions lasted 30 min, using the NeoSync EEG Synchronized TMS (“N.E.S.          possible distribution of sources (8). Finally, brain network connectivity
T.”) device, the full details of which are described in the primary report    was assessed with EEG magnitude squared coherence (9). The coher-
of that study (2). Subjects reclined on a table while the N.E.S.T. device     ence estimate was computed as magnitude squared coherence (MSC)
was placed in contact with the head, with its internal rotating magnets       with values ranging between 0 and 1. These values indicate how well-
aligned along the midline, exposing frontal and central cortical regions
                                                                              time series × corresponds to time series y at each frequency bin. The
to the stimulating ﬁeld. Clinical symptoms, assessed with the self-rated
                                                                              MSC is a function of cross-power spectral density Pxy (f ) normalized by
inventory of depressive symptomatology (IDS), were considered here
                                                                              the individual power spectral densities Pxx(f ) and Pyy(f ):
at baseline and last treatment session. All procedures were reviewed
and approved by the IRB prior to execution of the study.                                                                          2
   In this ancillary study, full-head 35 channel EEG recordings were                                                    Pxy ð f Þ
                                                                                                      Cxy ð f Þ ¼
performed in the maximally-awake, eyes-closed condition, with a                                                     Pxy ð f Þ*Pyy ð f Þ
Pz reference (ElectroCap, Inc., Eaton, OH, USA). Signals were
recorded at a sample rate of 256 Hz, with a passband of                         After computing coherence estimates for all pairs of electrodes,
0.3–70 Hz, and a notch ﬁlter at 60 Hz. EEG preprocessing and arti-            the sTMS-induced change in coherence was deﬁned as the differ-
fact rejection was performed using the Brain Vision Analyzer                  ence between post- and pre-coherence estimates.




Figure 1. Neurophysiologic ﬁndings. a. LORETA map showing voxels with signiﬁcant correlation of change in current spectral density with contemporaneous
                                                                                                                                                            895




symptom improvement in active subjects. b. Coherence maps showing channel pairings with signiﬁcant correlation at baseline with symptom improvement for
active sTMS subjects (red = positive correlation; blue = negative correlation). [Color ﬁgure can be viewed at wileyonlinelibrary.com]


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        In these exploratory analyses with t-test, ANOVA, and correlation         successful treatment outcome with sTMS, and merit additional
      coefﬁcients, an uncorrected alpha level of 0.05 was employed.               investigation.


      RESULTS
         Clinically, active and sham groups did not differ in depression
                                                                                                             Acknowledgement
      severity at baseline (IDS: Active: 42.8 [8.13 SD] vs. Sham: 44.83 [9.15
                                                                                    The authors thank Nikita Vince-Cruz for assistance with the EEG
      SD], t = 0.46 p = 0.65). Both groups showed clinical improvement
                                                                                  data processing.
      (active: 22.00%, SD = 21.76 and sham 48.58%, SD = 25.80), consistent
      with ﬁndings in the primary report for the entire study population (2).
         There were no signiﬁcant differences in absolute or relative power
      between active and sham groups at any time point in any band, and
      no signiﬁcant changes over time within groups. There also were no                                  Authorship Statements
      signiﬁcant changes in Q-factor values, between groups or over-time.
      There were, however, signiﬁcant increases in alpha CSD from baseline           Drs. Cook, Corlier, and Leuchter and Mr. Wilson designed and
      to ﬁnal treatment that were positively correlated (p < 0.05) with           conducted the data analyses. Drs. Cook and Leuchter designed
      improvement on IDS scores in midline and predominantly anterior             the study, and Dr. Cook recruited the subjects and collected the
      voxels in the active sTMS group only (Fig. 1a); no signiﬁcant correla-      data. Dr. Cook prepared the manuscript draft with important intel-
      tions were observed in the sham group.                                      lectual input from all coauthors, and all authors approved the
         Elevated coherence values in the alpha and beta ranges at pre-           manuscript. All authors had complete access to the study data.
      treatment baseline were signiﬁcantly associated with greater IDS
      improvement at multiple channel pairings, in both inter- and
      intra-hemispheric connections (Fig. 1b).                                                           How to Cite this Article:
                                                                                     Cook I.A., Wilson A.C., Corlier J., Leuchter A.F. 2019. Brain
                                                                                     Activity and Clinical Outcomes in Adults With Depression
      DISCUSSION                                                                     Treated With Synchronized Transcranial Magnetic Stimu-
                                                                                     lation: An Exploratory Study.
         While this exploratory analysis used a small sample of subjects,            Neuromodulation 2019; 22: 894–897
      our ﬁndings can provide useful guidance for hypothesis generation
      for future research. First, it was notable that classic power measures
      did not exhibit signiﬁcant between-group differences or changes over
      time. Because the size of the recruited network is one determinant of
      oscillatory power (10), this ﬁnding suggests that the size of the neural
      population generating the alpha rhythm was not expanded through
      treatment, or that changes in network size were offset by changes in                                       REFERENCES
      synchrony within the network. There also was no change in the Q-
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      factor metric, suggesting that IAF stimulation did not signiﬁcantly             magnetic stimulation (sTMS) for treatment of major depression. BMC Psychiatry
      alter the characteristics of the alpha peak.                                    2014;14:13.
         Second, these analyses provide preliminary evidence of target             2. Leuchter AF, Cook IA, Feifel D et al. Efﬁcacy and safety of low-ﬁeld synchronized
                                                                                      transcranial magnetic stimulation (sTMS) for treatment of major depression. Brain
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      the alpha band showed a positive correlation with the degree of              3. Cook IA. Current FDA cleared TMS systems and future innovations in TMS ther-
      clinical improvement; 2) this was found in the active group and not             apy. In: Bermudes RA, Lanocha K, Janicak P, editors. Transcranial magnetic stimu-
                                                                                      lation: Clinical applications for psychiatric practice. Arlington, VA: American
      the sham group; and 3) it was observed speciﬁcally in voxels near               Psychiatric Association Publishing, 2017:227–258.
      the stimulating magnets, which are placed at anterior and central            4. Jin Y, Potkin SG, Kemp AS et al. Therapeutic effects of individualized alpha fre-
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      sensor-space power correlations, suggests that clinically-relevant              mul 2012;5:560–568.
                                                                                   6. Leuchter AF, Cook IA, Jin Y, Phillips B. The relationship between brain oscillatory
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      ciated with clinical improvement in the active sTMS group. Specif-           7. Leuchter AF, Hunter AM, Krantz DE, Cook IA. Rhythms and blues: Modulation of
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      ically, beta oscillations have been previously associated with                  Ann N Y Acad Sci 2015;1344:78–91.
      cortical excitability (11,12) and in the present study, the beta band        8. Korb AS, Hunter AM, Cook IA, Leuchter AF. Rostral anterior cingulate cortex theta
                                                                                      current density and response to antidepressants and placebo in major depres-
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                                                                                      depression. PLoS ONE 2012;7:e32508–e32513.
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      outcome and recommend this be examined prospectively.                           304:1926–1929.
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      ment of cerebral targets with subthreshold sTMS stimulation, and this           physiol 2010;121:492–501.
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      may occur focally and deeper than the cortical surface. As well, con-       12. Schutter DJLG, Hortensius R. Brain oscillations and frequency-dependent modu-
                                                                                      lation of cortical excitability. BRS 2011;4:97–103.
      nectivity measures may represent a potential biomarker to predict

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COMMENT
   Synchronized TMS offers a novel stimulation paradigm that may
be adaptable for home use. This paper offers a concise description
of the possible target which determines the efﬁcacy of the
intervention.

                                                                 Scott Aaronson, MD
                                                                  Baltimore, MD USA

Comments not included in the Early View version of this paper.




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